 

 

Case 1:20-cv-02428-GBD Document 19 Filed 10/20/20 Page 1 of 1

 

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

CORNELIUS COLEMAN, on behalf of themselves :
and all others similarly situated, LINDA HORAN, :
on behalf of themselves and all others similarly
situated,

 

 

 

ORDER

Plaintiffs, 20 Civ. 2428 (GBD)

-against-

RAILWORKS CORPORATION; KEVIN
RIDDETT; BOB CUMMINGS,

Defendants.

The November 5, 2020 initial conference is adjourned to December 3, 2020 at 9:30 a.m.

Additionally, Defendants’ time to respond to the complaint is extended to December 3, 2020.

Dated: October 20, 2020
New York, New York

SO ORDERED.

 

 
